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U.S. BANKRUPTCY COUR.T

IN AND FGR 'I`HE DISTRICT OF OREGON

{~1~\

Adv. Proc. No. 18-03022-pcm

ln' Re: Peter Szanto, Debtor

 

Core Case No. 16-33185-pcm7
U S Trustee, P|aintiff

Notice of Motion and Motion for

Peter Szanto’ Defendant Terminating Sanctions for quintiff’s

Continuing Discove[y Abuses

HEAR|NG REQUESTED

 

 

 

 

1. P|aintifl"'s Certification Reig_tinq to Pre-fi|ing_Conferral

(Certification Pursuant to LBR 7007-1 (a))

Ms NlcC|urg sent debtor a prospective letter to the effect -- that for aii
time -- irregardiess of Whatever relief debtor requests, she Wi|i oppose it!!!

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Nonetheless, on 11-19-18, debtor phoned l\/ls McClurg seeking to discuss the
instant application for relief.

As of the signing of the instant paper, debtor has received no
communication from lVls lVlcC|urg regarding the instant application.

Therefore, pursuant to rule LBR 7007-1 (a), debtor has sought
conferral so as to resolve the situation, but has been unsuccessful in that

regard.

l certify under penalty of perjury under the laws of the United States,
that foregoing is true and correct. Signed §a"t irvine CA.

_ l
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DATED 11/21/2018 /S/ §\:`“---f Peter Szanto

2. Notice
To the Court and the U.S. Trustee, please take notice, comes now
debtor seeking relief such that this honorable Court impose sanctions as

punishment for plaintiffs continuing discovery abuses.

3. Facts

 

The outcome of t_his case is known to an absolute certaintv!

._ The lj;§. Trustee will prevail ang debtor will be denied a
discharge.

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Nonethe|ess, because of her absolute immunigtl the U.S.
Trustee knows t_ft',_at she can garner some additional personal pleasure
and amusement by forcing debtor repeated|v to bed for discovery

tand using the power and privilege of her office to make discovery
impossible fgr debtor). The U.S. Trustee knows that because Judgg

 

McK_tttrick is in her corner to cover-up_tg_)r every fgrm of discovery

abuse she may contrive - that the Court will let her get away with
everything evemhing everghing in her efforts to destroy debtor.

These facts were emphasized in crystalline clarity at the
hearing of 11-13-2018. wherth the §ourt simply disregarded debtor’s

efforts for eguanimity regarding the blatant depravation of discovery
he has experienced since propounding said discovery on 6-2-18 1171
days ago)!

While plaintiff’s theatrics may be funnv for her - for debtor l

these tactics are a continuing nightmare of discovery abuse which
need be punished with the severest pf sanctions.

Thereon, debtor’s asks immediate terminating sanctions and
immediate dismissal with preiudice of this cause.

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a. Plaintift’s Phony FEDEX Mailing

On 10/3/2018, Plaintiff filed a response to Debtor’s l\/lotion regarding
discovery abuse [Docket Entry 108]. Hidden, secretly and sneakily as an
exhibit to the response was a document which was totally irrelevant to the
issue of discovery abuse. [Docket Entry 109-4] was a FEDEX trace sheet
which proved absolutely nothing in the way of useful information. However,
plaintiff knew that debtor would not examine the response or the FEDEX

trace, until the matter was set for hearing.

Thus, on 10-26-18, when plaintiff filed her non-conforming 1[Docket
Entry 146] Supplemental Objection, she referenced [Docket Entry 109-4]
as though it were a document that was properly before this court,g when in
fact the document [Docket Entry 109-4] had no foundation for evidentiary
admission as either part of the Abuse response or evidentiary admission as

part of non-conforming and imptpper supplemental tiling.

1. Supplemental objections in motion practice are barred by the LBR 2007-1[1:][4}.

2. The FEDEX trace cannot /'ust simply come into evidence without foundation No
document achieves evidentiary foundation simply because it is propounded by
a Federal employee with absolute immunity to do as she pleases Additionally
there is no immunity in the United States from following rules and laws

established by Congress and made law by the Fresident’s signature
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Thereafier,`this Court barred debtor from making complete inquiry
into the alleged FEDEX. However, debtor has learned, see declaration,
that the alleged FEDEX did not reach him, because it was not pre-paid.

The issue, contrary to plaintiffs hearsay allegation, was not whether
debtor was at horne OR whether debtor would sign for the FEDEX item, but
rather that plaintiff did not pre-pay the shipment!

b. Plaintiff’s False Representations at 11-13-18 Hearing

Because Judge l\/chittrick believes anything and everything which
anyone in opposition to debtor says (regardless of lies told under oath), the
hearing of 11-13-18 provided plaintiff further opportunity to abuse discovery
by pretending that she really really really really really wanted to provide l

discovery materials to debtor.

Of course, Judge l\/|cKittrick, as usua|, swallowed all this silliness.
For example, there are no privileges upon which plaintiff can rely, because
all of plaintiffs privileges were compromised when she shared personal,

private papers related to debtor with Mr. Arnot and lVlr. Henderson.

ln sum, no entity is “permitted to pick and choose among [its]

opponents, waiving the privilege for some and resurrecting the claim of

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confidentiality to obstruct others, or to invoke the privilege as to
communications whose confidentiality he has already compromised for his
own be_netit." The Permian Corp. v. United Stafes (1981) 665 F.2d 1214,
1221 accord ln re Subpoenas Duces Tecum (1984) 738 F.2d 1~367, 1372:
“lt would be inconsistent and unfair to allow [parties] to select according
to their own self-interest to which adversaries they will allow access to the

materials [they disclose].”).

ln this case, the extent to which plaintiff has frittered away debtor’$
privacy to Mr. Henderson is disgustingly obscenel And were it not for
plaintiffs absolute immunity, she would be held accountable for publishing

debtor’s personal and private matters to the world for her own pleasure

Of course, in plaintiffs world, under the august benefcence of Judge
lVchittrick, all things which easily cause debtor harm and misery, are just
fine. For example, there is no rule that a debtor need be transparent But
debtor Szanto has been forced to be naked as to all of his personal, private
affairs as plaintiff shares everything regarding plaintiff with everyone and

anyone.

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c. Plaintt'ff’s 11-19~18 Further Abuse

At the hearing of 11-13-18, piai_ntiff was not given leave to mail
anything to debtor until the Cogrt ruleg on the matter. The GRDER of
the Court is on the record and the Memo of the proceedings [EXHlBlT A]-
the matter is under advisement No decision has been made.

Of course, because the plaintiff has absolute immunity (and for alj

practical purposes is running the Cou_r;t) she nevertheless took it upon
herself to just send a FEDEX envelope to debtor [EXHlBlT B].

[EXHlBlT B] demonstrates plaintiffs further intentional efforts to
make discovery for debtor compiicated, trying and impossibiel!

First, plaintiff knows that debtor is an Orthodox Jewish rabbi who
spends the entire of Friday sundown until Saturday sundown in worship

and prayer at a synagogue.

Thus, plaintiff knew that by marking the envelope for Saturday
delivery [EXHlBlT B, #D] that there was a good chance that the item
would not reach plaintiff (iE, the FEDEX envelope left on (because it was
too large to go into) debtor’s mailbox (which mailbox is adjacent to many
other neighborhood mailboxes) had a higher probability of loss and mis-
handling than being delivered to debtor at an agreed time and date).

Further to frustrate the possibility of delivery, [EXHlBlT B, #A] shows
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a shipper other than the U.S. Trustee or absolutely immunized trustee
McCiurg. lndeed, as the declaration relates, debtor almost returned the
envelope because it was unclear whether the item was sent by plaintiff
herein (|E, that it was mls-addressed by someone other than piaintiff).

_ Debtor has been chastised by this Court numerous times for leaving
phone messages outside of business hours. For the trustee, however,
sending FEDEX on a non-business, non-court day, seems to be just further
part and parcel of her absolute immunity from ali of the rules to do

whatever she pieases, whenever she please without consequence

Further, yet to frustrate delivery, debtor’s phone number has been
omitted [EXHlBlT B, #C]. Recipient’s phone number is an integral part of
FEDEX shipping, because it allows FEDEX to clarify delivery addresses
and correct routes to an address. Of course, for piaintiff, it is just another
opportunity to make delivery to debtor more difficuit, by omitting debtor’s
phone number (and then contriving ali that»as debtor’s fault).

1_.ULT|MATELY NO USEABLE MATER|ALS ARE SENT TO DEBTOR!!!!

 

When, after 171 days of discovery abuse by piaintiff, debtor opened

the FEDEX envelope, the Only item therein was [EXHlBlT C]: a CD in
a plastic case bearing the label “FED EX Surveiiiance.”

Because debtor at all times seeks to be absolutely co-operative,

debtor inserted the CD into the computer he uses at FEDEX ofi'ice, but
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found that the single file on the CD was corrupted, un-demarcated and
unreadabie. AGA|N NO USABLE DlSCOVERY HAS w PRODUCED!!

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d. Conclusion

Thus, yet again, the trustee’s guile and trickery have allowed her to

evade discovery. Such evasion is not covered by her absolute immunity,

Debtor still has none of the materials he requested on 6-2-18.

4. Memorandum Regarding Djscovery Abuse.

a. Law Sustainino Sanctions for Abuse

FRCP 26(b) defines what may be sought through discovery and

states in pertinent part:

“Unless otherwise limited by court order, the scope of discovery is as follows: Parties may obtainl

discovery regarding any nonprivileged matter that is relevant to allV Dal‘tV'S Claim or
defense and proportional to the needs of the case, considering the importance of the issues at
stake in the action, the amount in controversy, the parties' relative access to relevant
information, the parties’ resources, the importance of the discovery in resolving the issues, and
whether the burden or expense of the proposed discovery outweighs its likely benefit.”

in this case, debtor seeks merely those materials which plaintiff
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has in her possession which contain material about debtor; debtor wiii then

craft a defense to the aliegations.

On this basis, the discovery sought is wholly relevant, Debtor is
not abusive of the FRCP 26 ruie, because the materials sought are ali
relevant, because debtor’s ability to defend himself relies on knowing what
materials are to be used against him. (Especially those materials which

were handed over to Mr. Henderson.)

“Since the touchstone of any discovery motion is relevance the
primary issue for decision is whether the documents and information
sought relate to any of the legal or factual issues in dispute.” Pierson v.
U.S. (1977) 428 F.Supp. 384, 387. Here, all materials`sought by debtor are

relevant, because all that is sought is material which concerns debtor.

Thereupon, after 171 days of requesting, but being thwarted from
obtaining any materials whatever, debtor prays this Court exercise its

power under FRCP 37(b)(2)(v) and dismiss this matter with prejudice

5. _l_Jeclaration of Peter Szanto

1. i\/iy name is Peter Szanto, i am the defendant herein.

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. This is my truthful declaration as to the continuing issue of

. Plaintiff’s abuse of discovery is intentional and is being carried

. Thus, debtor’s complaints of abuse of process and discovery

. Thus plaintiff is motivated to withhold discovery, because it

. More importantiy, by forcing debtor to complain, plaintiff is able

. The consequence is that Judge i\/icKittrick’s murderous rage

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abusive discovery and misuse of process by the piaintiff.

out because plaintiff knows that Judge McKittrick disbelieves
everything which debtor says.

by plaintiff are perceived by Judge l\/icKittrick as debtor’s lies

and bad demeanor.

enhances her position as a truth teller and crates further

animosity against debtor as a whiner.

to fuel the flame of Judge i\/chittrick’s hatred for debtor’s

demeanor, and everything which debtor represents.

against debtor is intensified and plaintiff will be able to prevail
without benefit of truth, law orjustice (The ruies, of course,
long ago became superfluous in this case. EG, the non compliant

supplemental pieading)

 

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8. Thus, plaintiffs efforts of abuse of process and discovery are
perfect for her, because they add further certainty that she will

be successful in putting-down debtor and enhancing her career.

9. | believe to an absolute certainty that the reason there is no
fairness in this case is because Judge McKittrick believes

anything that a person admitted to the bar says.

10. This creates the contrary problem for me that no matter what
i say or represent, Judge McKittrick already presumes my

statements to be lies, because i am not an attorney.

11. i have received no papers from plaintiffs early October FEDEX

mailing.

12. At the time of that alleged FEDEX shipment l received no
notice from FEDEX, nor did any FEDEX employee come to my

house regarding any shipment.

13. When alerted about that shipment by plaintiffs defiance of the

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rules supplemental filing, my investigations indicate that the
reason for failure of delivery was that the shipment was not

prepaid by the plaintiff.

14. i am attempting to secure an affidavit from FEDEX about lack of

prepayment

15. However, FEDEX is reticent to write a letter about the misdeeds
of the Justice Department, because they know the Justice
Department will in-one-way-or-another seek revenge against

FEDEX.

16. As usuai, at the 11-13-18 hearing plaintiff - because she has
absolute immunity, made numerous false statements:
a) that she was confused about my address
b) that the October FEDEX shipment was prepaid.
c) that i refused the October FEDEX shipment
d) that she had attempted to communicate with me in good faith
e) that her goal is to provide discovery materials, when in fact

her goal is to win this case based on my demeanor.

 

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17. During the six depositions which plaintiff conducted, i was
concerned about the fact that plaintiff asked me numerous
questions about my reiigion, ethnic background and country of

origin.

18. Piaintiff also tried to create the impression that my ministry as
a rabbi was the source of undisclosed income (i take no money
for my rabbinical activities, and ali money offered me for those
activities are suggested to be donated to the Chabbad religious

organization

'19. The FEDEX envelope i received from plaintiff on 11-18-18,

contained only one item, a CD marked “FED EX Surveiiiance”

which is corrupted, un-demarcated and unreadabie.

20. Thus, after 171 days, plaintiff has provided me with no usable
discovery,
21. Thereon, the matter should be dismissed based on the

plaintiffs blatant discovery abuses.

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22. l declare under penalty of perjury that the foregoing is true and
correct.

23. Signed at lrvine, Caiifornia.

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Peter Szanto

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DATED 11-21-2018 /s/ K£:`W

6. Conciusion

The rule is very clear that discovery must be complied with. Here,
because plaintiff has absolute immunity, she believes she can play absurd
games with the Court and debtor’s time and patience The Court is called
upon to show plaintiff that her absolute immunity is not boundiess and does

not extend to discovery abuse

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DATED 11-21-2018 /s/ \ Peter Szanto

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Proof of Service

My name is Maquisha Reynolds, l am over 18 years of age and noia

party to this action. My business address is PO Box 14894, Irvinc CA 92623.

On the date indicated below, I e-mailed the within Motion to:

U.S Trustee, Carla Gowen McClurg at

Carla.McClurg@usdoj. gov

I declare under oath that the foregoing is true and correct

Signed at Irvine CA

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/S/ Maquisha 1161/molds '11-21-2018

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11/13/2018. TUESDAY judge Peter C McKittrick
10:00 13-3§222 pena ap US Trustee v. Szanto

16~33185 1. 1. Debtor's Notice of Motion and Third Motion for ORDER
‘ Compe|ling Discovery and Disclosure 2. Affidavit of Peter Szanto
in Support 3. Request for Expedited Hearing and Supporting
Document(s) (49)

2. 1. Debtor's Notice of Motion and Fourth Motion for ORDER
Compe|ling Discovery and Disclosure 2. Af'fidavit of Peter Szant:o
in Support 3. Request for Expedited Hearing and Supporting
Document(s) (50)

3. 1. Debtor‘s Notice of Motion and First Motion for ORDER
Compelling Discovery and Disclosure 2. Affidavit of Peter Szanto
in Support 3. Request for Expedited Hearing and Supporting
Document(s) (47)

4. 1. Debtor‘s Notice of Mot:ion and Second Motion for ORDER
Compei|ing Discovery and Disclosure 2. Affidavii: of Peter Szanto
in Support 3. Request for Expedited Hearing and Supporting
Document(s) (48)

5. Supplemental Objection Filed by Plaintiff US Trustee Re: (47)
1. Debtor's Notice of Motion and First Motion for ORDER
Compelling Discovery and Disc|osure 2. Affidavit of Peter Szanto
in Support 3. Request for Expedited Hearing and Supporting
Document(s), (48) 1. Debtor's Notice of Mot:ion and Second
Motion for ORDER Compe|ling Discovery and Disclosure 2.
Affidavit of Peter Szanto in Support 3. Request for Expedited
Hearing and Supporting Document(s), (49) 1. Debtor's Notice of
Motion and Third Mot:ion for ORDER Compelling Discovery and
Disclosure 2. Affidavit of Peter Szanto in Support 3. Request for
Expedited Hearing and Supporting Document(s), (50) 1. Debtor's
Notice of Motion and Fourth Motion for QRDER Compelling
Discovery and Disc|osure 2. Affidavit of Peter Szanto in Support
3. Request for Expedited Hearing and Supporting Document(s).
(McClurg, Car|a) (146)

US Trustee - pla CARLA GOWEN MCCLURG X

Peter Szanto - dft X Martm Smlth ' UST X

Evidentiary Hearing: Yes: No: ><X

The Debtor indicated he Was in a location With poor cell coverage As a result, the court tool< the matter
under advisement and will rule in Writing to assure debtor has access to the Court's entire ruling

The UST Was directed to email the Defendant requesting Defendant's preferred method of document
discovery: the Newp_ort Beach FedEx Office or UST‘s Santa Anna Office. If no response from Defendant
by Thursday, November 15, 2018, the court Will determine the delivery location, and so indicate in its
ruling. The UST to upload correspondence by November 19, 2018 regarding delivery location and

include a reference to the list of documents by category being produced
Run Date: 11/13/18

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SHiP DATE: 18NOV18

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